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                        EXHIBIT PAX 27
                 Rule 1006 Summary Re: Litigation Claims
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UNITED STATES BANKRUPTCY COURT
DISTRICT OF CONNECTICUT
BRIDGEPORT DIVISION

    In re:
                                                    Chapter 11 Case No.

    HO WAN KWOK 1                                   22-50073 (JAM)

    Debtor.                                         May 20, 2022



   DECLARATION OF MAKENZIE RUSSO IN FURTHER SUPPORT OF PACIFIC
 ALLIANCE ASIA OPPORTUNITY FUND L.P.’S MOTION TO DISMISS CHAPTER 11
   CASE OR, IN THE ALTERNATIVE, PARTIAL JOINDER TO UNITED STATES
  TRUSTEE’S MOTION FOR AN ORDER DIRECTING THE APPOINTMENT OF A
                        CHAPTER 11 TRUSTEE

I, Makenzie Russo, declare:

             1.   I am an attorney admitted to practice law in the State of New York and am an

associate at the law firm of O’Melveny & Myers, 7 Times Square, New York, NY 10036,

counsel for Pacific Alliance Asia Opportunity Fund L.P. (“PAX”). I respectfully submit this

Declaration in support of PAX’s Motion to Dismiss Chapter 11 Case, or in the Alternative,

Partial Joinder to United States Trustee (“Motion to Dismiss”) [ECF 183].

             2.   Attached hereto is a true and correct copy of PAX Exhibit 27, “Federal Rule of

Evidence 1006 Summary Re: Litigation Claims.” In connection with the May 25, 2022 Hearing

on PAX’s Motion to Dismiss, PAX offers PAX Exhibit 27 as a summary of information relevant

to the litigation claims referenced in Debtor’s Schedule F. 2

             3.   To compile PAX Exhibit 27, colleagues of mine at O’Melveny & Myers LLP

(“O’Melveny”) searched the public record to identify litigation matters involving the litigants



1
    The last four digits of the Debtor’s taxpayer identification number are 9595.
2
    See Debtor’s Schedule F, ECF 78.



                                                                                                   PAX-27
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listed on the Debtor’s Schedule F that held a claim against the Debtor individually. For each of

the relevant litigation matters identified, O’Melveny reviewed the court’s public dockets,

gathered the information reflected in the chart, and then summarized the current status of the

litigation in the chart. For example, the chart indicates, among other things, whether a case had

been dismissed and whether a trial date had been set, citing the appropriate docket entry number.


 Dated: May 20, 2022                              Respectfully submitted,
 New York, New York
                                                   /s/ Makenzie Russo
                                                   Makenzie Russo
                                                   mrusso@omm.com
                                                   O’MELVENY & MYERS LLP
                                                   7 Times Square
                                                   New York, NY 10036
                                                   Telephone: (212) 728-5819

                                                   Attorney for Pacific Alliance Asia
                                                   Opportunity Fund L.P.
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                                     Federal Rule of Evidence 1006 Summary of Schedule F Litigation Claims

                                                  Schedule F: Nonpriority Unsecured Creditors 1
                Party             Claim According to                                    Status                              Trial Date
                                       Schedule F
              Beijing Zhong Xian Wei Ye Stainless Decoration Center et al. v. Wengui Guo et al., Case No. 653176/2017 (N.Y. Sup. 2017)
    Xiong Xian Wei Ye             Unknown                 On May 12, 2020, Defendants’ motion to dismiss was granted        Case dismissed
    Beijing Zhong Xian Wei Ye     Unknown                 “to the extent that the complaint is dismissed in its entirety
    Stainless Decoration Center                           pursuant to CPLR 3211(a)(7).” Order, Dkt. No. 69 at 5. The
    (“Xiong Xian Wei Ye”)                                 court ordered the clerk to enter judgment dismissing the
                                                          complaint. Id.
    Beijing Bi Hai Ge Lin Yuan    Unknown
    Lin Lu Hua, Ltd
    (“Bi Hai Ge Lin”)
    Cheng Jian Qu Jian She        $12,000,000

    Beijing Cheng Jian Qu Jian      Unknown
    She Group, Ltd.
    (“Cheng Jian Qu Jian She”)
    Shi Jia Zhuang Zhen Yuan        Unknown
    Jian Zhu An Shuang Gong
    Cheng Ltd. Beijing First
    Branch
    (“Zhen Yuan Jian Zhu”)
    Hong Qi Qu                      $9,809,422.71
    Hong Qi Qu Jian She Group       Unknown
    Ltd
    (“Hong Qi Qu”)
    Nan Tong Si Jian                $5,568,522
    Nan Tong Si Jian Group Ltd.     Unknown
    (“Non Tong Si Jian”)

1
 PAX searched the public record for any litigants listed on the Debtor’s Schedule F that held a claim against the Debtor individually. See Schedule F:
Nonpriority Unsecured Creditors, ECF 78 at 19–21. There were a number of purported litigation claims that PAX could not locate in the public record: Clark
Hill, Gao Bingchen, Hero Grant Limited, Hong Zeng, Jumbo Century Limited, Kui Cheng, MacDonald, New Dynamic Development Limited, Sail Victory
Limited, Strategic Vision, The Sherry-Netherland, Thomas Ragland, UBS AG, UBS AG (London Branch), Well Origin Limited, Yue Hua Zhu Shi.

                                                                              1
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    Beijing Fu Le Hong Ma Jian     Unknown
    Shu Shuang Shi Gong Cheng,
    Ltd.
    (“Fu Le Hong Ma”)
    Yua Hua Zhuang Shi             $1,571,530.36
    He Bei Yue Hua Zhuang Shi      Unknown
    Gong Cheng Ltd
    (“Yue Hua Zhuang Shi”)
    Jian Gong                      $5,380,262.32
    Jiang Su Province Jian Gong    Unknown
    Group Ltd Beijing Branch
    (“Jian Gong”)
                                           Tang et al. v. Guo, Case No. 1:17-cv-09031 (S.D.N.Y. 2017) 2
    Baiqiao Tang                   Unknown                 On February 1, 2022, the Court ordered that “all claims and     Case dismissed
    Jing Geng                      Unknown                 causes of action asserted in this action by Plaintiff Tang and
                                                           Plaintiff Geng are dismissed with prejudice” where Plaintiff
                                                           Tang “has failed to prosecute his claims” and “Plaintiff Geng
                                                           passed away in April 2021, and no motion to substitute a proper
                                                           party, or for an extension of time to do so, has been filed.”
                                                           Order, Dkt No. 97.
                            Watson Meng and Boxun Inc. v. Guo Wengui, Case No. 159636/2017 (N.Y. Sup. Nov. 7, 2017)
    Boxun Inc. 3                   Unknown                 On October 7, 2021, the court certified the case as ready for   No trial date set
    Watson Meng 4                  Unknown                 trial. Note of Issue, Dkt. No. 57. Kwok moved to vacate the
    Weican Meng/Boxun Inc.         $1,000,000              note of issue and the reply briefing was filed on November 9,
                                                           2021. Reply Aff. in Supp. of Mot. to Vacate Note of Issue, Dkt
                                                           No. 120.
     Keyi Zilkie, Huizhen Wang, Chao-Chih Chiu, Yunxia Wu v. GTV, Saraca and Wengui Guo, Index No. 652843/2021 (N.Y. Sup. April 29, 2021)
    Chao-Chih Chiu                 Unknown                 On November 5, 2021, the court entered a stay pursuant to the   N/A
    Huizhen Wang                   Unknown                 parties’ stipulation that a stay of the action was appropriate
    Keyi Ziklie                    Unknown                 while Plaintiffs seek distributions from the SEC-administered

2
  These parties filed claims in New York Supreme Court. Compl., Baiqiao Tang and Jing Geng v. Wengui Guo et al., Case No. 153969/2019 (N.Y. Sup. 2019).
Those proceedings have been dormant since September 30, 2019, the date the complaint was filed. See Docket, Baiqiao Tang and Jing Geng v. Wengui Guo et
al., Case No. 153969/2019 (N.Y. Sup. 2019).
3
  For reasons that are unknown to PAX, this name appears as a litigation claim holder twice on the Debtor’s Schedule F.
4
  For reasons that are unknown to PAX, this name appears as a litigation claim holder twice on the Debtor’s Schedule F.

                                                                           2
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Yunxia Wu                    Unknown                 Fair Fund in connection with their claims. Order, Dkt. No. 30 at
                                                     2.
     Zhengjun Dong, Wen Lin, Kaixin Hong, Chenglong Wang v. GTV, Saraca and Wengui Guo, Index No. 652190/2021 (N.Y. Sup. 2021)
Chenglong Wang                 Unknown               Plaintiffs requested severance of claims against Kwok in light of N/A
Kaixin Hong                    Unknown               his bankruptcy in order to proceed against other defendants.
Wen Lin                        Unknown               Order to Show Cause, Dkt. No. 106.
Zhengjun Dong                  Unknown
 Rong Zhang, Xiaodan Wang, Chong Shen Raphanella v. Voice of Guo, GTV, Saraca, ROL Miles Guo, Case No. 2:21-cv-01079 (D. Ariz. 2021)
Chong Shen Raphanella          Unknown               Partial Motion to Dismiss fully briefed as of February 2, 2022    N/A
Rong Zhang                     Unknown               and not yet decided. Mot. to Dismiss Reply, Dkt. No. 43.
Xiaodan Wang                   Unknown
                         Haihong C. Wang v. GTV, Saraca, Wengui Guo, Case No. 3:21-cv-00359 (D. Conn. 2021)
Haihong Wang                   Unknown               Kwok filed an answer to the complaint on October 22, 2021.        N/A
                                                     Dkt No. 42. There was no other docket activity until the Notice
                                                     of Bankruptcy was filed on February 18, 2022. See Docket.
 Weiguo Sun, Linda He Cheing, Jia Li Wang, Jiamei Lu, Jun Liu, Mao-Fu Weng, Ruqin Wang, Teli Chen, Weixiang Ge, Shuang Wang, Xingyu
           Yan, Yan Gao, Yi LI and Ying Liu v. GTV, Saraca, Voice of Guo, Wengui Guo, Case No. 1:21-cv-04529 (S.D.N.Y. 2021)
Jia Li Wang                    $430,000              As of October 14, 2021, discovery in this action was stayed       N/A
Jiamei Lu                      Unknown               while plaintiffs pursue recovery in connection with the SEC-
Jun Liu                        Unknown               administered Fair Fund. Order, Dkt No. 79.
Linda He Cheung                Unknown
Moa-Fu [Weng]                  Unknown
Ruquin Wang                    Unknown
Shuang Wang                    Unknown
Teli Chen                      Unknown
Weiguo Sun                     Unknown
Weixiang Ge                    Unknown
Xingyu Yan                     Unknown
Yan Gao                        Unknown
Yi Li                          Unknown
Ying Liu                       Unknown
                      Jianhu Yi and Quiju Jia v. GTV, Saraca, Wengui Guo, Case No. 1:21-cv-02669 (S.D.N.Y. 2021)
Jian Hu Yi                     Unknown               As of September 22, 2021, discovery in this action was stayed     N/A
Quiju Jia                      Unknown               while plaintiffs pursue recovery in connection with the SEC-
                                                     administered Fair Fund. Order, Dkt. No. 39. According to a

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                                                         status update, the parties are in continued settlement discussions
                                                         to recover from the SEC fund. Letter, Dkt. No. 47.
                                  June Shi v. GTV, Saraca, Wengui Guo, Case No. 1:21-cv-01408 (N.D. Ill. 2021)
    June Shi                       Unknown               Kwok filed an Answer of September 22, 2021. Amended                N/A
                                                         Answer, Dkt No. 33. The parties stipulated to a settlement of
                                                         some claims on January 14, 2022. Stipulation of Dismissal of
                                                         Count VII With Prejudice, Dkt No. 38.
                                   Fan Bingbing v. Guo Wengui, Case No. 156619/2017 (N.Y. Sup. July 24, 2017)
    Fan Bingbing                   Unknown               There is no docket activity in this case after the amended         N/A
                                                         complaint was filed on November 27, 2021. See Docket.
                       Wengui Guo v. Guo Baosheng, Yan Zhao and Ning Ye, Index No. 151251/2019 (N.Y. Sup. May 3, 2019)
    Guo Baosheng                   $12,000,000           There was a gap in the litigation between June 18, 2020 and        N/A
    Baosheng Guo 5                 Unknown               March 23, 2022. See generally, Docket. During this time
    Ning Ye                        $12,000,000           frame, there is only one docket entry. See Notice of ADR
    Yan Zhao                       $3,000,000            Options, Dkt No. 65. On March 21, 2022, the Defendants filed a
                                                         Notice of Motion for Leave of the Court to File Supplemental
                                                         Motion to Dismiss. Notice, Dkt. No. 66. A Notice of
                                                         Bankruptcy was filed shortly thereafter. Notice of Bankruptcy,
                                                         Dkt No. 72.
                              Jiansheng Xie and Jiefu Zheng v. Wengui Guo, Case No. 155995/2017 (N.Y. Supp. 2017)
    Jianshengxie and Jiefu Zheng Unknown                 There is no docket activity in this case after the amended         N/A
                                                         complaint was filed on June 30, 2017. See generally, Docket.
             Jonathan Young v. Guo Wengui, Saraca, Golden Spring, Rule of Law Foundation, Case No. 154683/2020 (N.Y. Sup. 2020)
    Jonathan Young                 Unknown               Defendants moved to dismiss the case, and those pleadings were N/A
                                                         fully briefed as of May 18, 2021. See Docket. There was no
                                                         docket activity in the action between May 18, 2021 and
                                                         February 16, 2022, when the notice of bankruptcy was filed. Id.
                                 Wengui Guo v. Jun Chen (a/k/a Jonathan Ho), Case No. 18-cv-03800, (D.N.J. 2019)
    Jun Chen (aka Jonathan Ho)     $1,000,000            On February 22, 2022, the Court ordered the parties to submit      Case dismissed
                                                         confidential settlement memos on or before March 3, 2022.          pending court
                                                         Text Order, Dkt No. 52. A settlement mediation was scheduled approval
                                                         for March 10, 2022. Scheduling Order, Dkt No. 50. On March
                                                         18, 2022 the parties “agreed to a mutual dismissal of their
                                                         claims” and the court entered an order “administratively

5
    For reasons that are unknown to PAX, this name appears as a litigation claim holder twice on the Debtor’s Schedule F.

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                                                      terminating the action on his records pending approval of the
                                                      dismissal by the Bankruptcy Court, at which time it will be
                                                      dismissed with prejudice.” Order, Dkt No. 55.
            Liehong Zhuang and Xiao Yan Zhu v. Wengui Guo and Saraca Media Group, Index No. 654999/2020 (N.Y. Sup Oct. 5, 2020)
    Liehong Zhuang               Unknown              On September 23, 2021, the Court granted Kwok’s motion to         N/A
    Liehong Zhuang/Xiao Yan      $1,005,000           dismiss in part. Order, Dkt No. 77. On February 9, 2022,
    Zhu 6                                             Kwok requested that a discovery conference be adjourned in
    Xiao Yan Zhu                 Unknown              light of his not having yet filed an Answer. Letter, Dkt No. 82.
                                                      A notice of bankruptcy was filed shortly thereafter. Notice of
                                                      Bankruptcy, Dkt No. 85.
                           Logan Cheng aka Shuiyan Cheng v. Wengui Guo, Case No. 1:20-cv-05678 (S.D.N.Y. 2020)
    Logan Cheng (aka Shiuyan     Unknown              Logan Cheng obtained a judgment for $196,940.39 on account        N/A
    Cheng)                                            of a counterclaim filed in the District of Nevada. Compl., Ex. 5,
                                                      Dkt No. 1-5. Cheng brought an enforcement proceeding in the
                                                      Southern District of New York. Compl., Dkt No. 1. Both
                                                      parties moved for partial summary judgment, which was fully
                                                      briefed as of February 15, 2022. See generally, Docket.
                         Rui Ma v. Guo Wengui and Golden Spring NY, Index No. 158140/2017 (N.Y. Sup. Sept. 11, 2017
    Rui Ma                       $20,000,000          The case was certified as ready for trial on January 29, 2022.    No trial date set.
                                                      Note of Issue, Dkt No. 27. Kwok requested oral argument to
                                                      vacate the Note of Issue on February 15, 2022. Letter, Dkt No.
                                                      97.
                              Ruizheng An v. GTV, Saraca, Guo Wengui, Case No. 1:20-cv-06555 (S.D.N.Y. 2020)
    Ruizheng An                  Unknown              On February 1, 2021, the court ordered an extension of time to    N/A
                                                      finalize a settlement. Order, Dkt No. 41. There has been no
                                                      docket activity since. See generally, Docket.
                             Samuel Dan Nunberg v. Guo Wengui, Index No. 150141/2020 (N.Y. Sup. Feb. 19, 2020)
    Samuel Dan Nunberg           Unknown              Nunberg filed an amended complaint on January 21, 2022.           N/A
    Samuel Nunberg 7             $1,000,000           Amended Compl., Dkt No. 96. Kwok moved to strike the
                                                      complaint on February 10, 2022. Mem. of Law in Supp. of Mot.
                                                      to Strike, Dkt No. 101.
                                          Wengui Guo v. Yeliang Xia, No. 18-cv-174 (E.D.Va. 2018)


6
    For reasons that are unknown to PAX, these names appear as litigation claim holders twice on the Debtor’s Schedule F.
7
    For reasons that are unknown to PAX, this name appears as a litigation claim holder more than once on the Debtor’s Schedule F.

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    Yang Yeliang Xia Lan               Unknown                  A jury awarded Kwok $100,000 judgment plus interest for              N/A
                                                                defamation. Order, Dkt No. 140. The jury awarded the Xia
                                                                $10,000 for defamation. Id.

                                                    Xia filed a notice of appeal on September 27, 2017. Notice of
                                                    Appeal, Dkt No. 141. Xia requested oral argument on the
                                                    appeal in December 2021. Wengui Guo v. Yeliang Xia, Case
                                                    No. 19-2062 (4th Cir. 2021), Dkt No. 62. The Court of Appeals
                                                    subsequently entered an order deferring consideration of the
                                                    motion for oral argument pending assignment of the case to a
                                                    panel. Order, Dkt No. 63.
                        WA&HF LLC and Ruizheng An v. Saraca, Wengui Guo, Case No. 2:21-cv-00490 (W.D. Wa. 2020)
    WA&HF LLC                 $319,130              The parties entered into a stipulation of dismissal on April 1,   Case dismissed
                                                    2022, upon being able to “fully compromise[] and settle[] the
                                                    claims.” Stipulation and Order of Dismissal, Dkt No. 21.
                                Xiqui (“Bob”) Fu v. Guo Wengui, Case No. 20-cv-00257 (W.D.Tx. 2020)
    Xiqui (“Bob”) Fu          Unknown               Kwok’s Motion to Dismiss was denied on January 15, 2022.          N/A
                                                    Order, Dkt No. 97. The case is administratively closed pending
                                                    the outcome of Kwok’s bankruptcy.
                                  Yan Huang v. Wengui Guo, Index No. 156552/2017 (N.Y. Sup. 2017)
    Yan Huang                 Unknown               A stipulation of settlement was entered on April 6, 2021.         Case settled
                                                    Stipulation of Settlement, Dkt No. 68.
                             Zheng Wu and Yang Lan v. Guo Wengui, Index No. 152123/2018 (N.Y. Sup 2018)
    Yang Lan                  Unknown               Kwok filed an Answer on April 25, 2019. Answer, Dkt No. 36. N/A
    Yang Lan and Qu Zheng 8   $10,000,000           On March 2, 2020, the Court ordered the parties to participate in
    Zhang Qu (aka Bruno Wu)   Unknown               a settlement mediation conference. Order, Dkt No. 46. Notices
                                                    of appearance and the notice of bankruptcy are the only docket
                                                    activity since that date. See generally, Docket.
                             Wengui Guo v. Danyu Lin, Case No. 2018CP3203623 (S.C., Lexington Cty. 2018)
    Danyu Lin                 Unknown               The South Carolina court system lists the status as “dismissed.”  Case dismissed
                                                    See generally, Docket.




8
    For reasons that are unknown to PAX, these names appear as a litigation claim holder twice on the Debtor’s Schedule F.

                                                                                 6
